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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                        Plaintiffs,
                                                    Civil Action No. 23-3754 (BAH)
                        v.
                                                    Judge Beryl A. Howell
 RUDOLPH W. GIULIANI,

                        Defendant.


                 FINDING OF CONTEMPT AND CONDITIONAL ORDER

       Plaintiffs Ruby Freeman and Wandrea’ (“Shaye”) Moss moved on November 20, 2024,

for defendant Rudy Giuliani to be held in civil contempt, Pls.’ Mot for Contempt, ECF No. 19,

based on alleged violations, on November 12 and 14, 2024, by defendant of the Final Consent

Judgment and Permanent Injunction (“Consent Judgment”), ECF No. 16, entered in this case on

May 22, 2024. This motion was supplemented with information about defendant’s additional

alleged violations of the Consent Judgment, on November 19 and 21, 2024. Pls.’ Notice of

Additional Information in Support of Pls.’ Mot. For Civil Contempt (“Pls.’ Notice of Add’l

Info.”), ECF No. 40.

       The Court finds, based on clear and convincing evidence, that defendant violated the

Consent Judgment. The Consent Judgment, to which defendant agreed and requested that this

Court enter, see Stipulation and Consent to Entry of Final Judgment, ECF No. 14, contains a

provision that permanently enjoins him from engaging in conduct described in part (a) and part

(b). Consent Judgment at 5. He violated part (a), which enjoins defendant from making “any

statements that suggest that Plaintiffs, whether mentioned directly, indirectly, or by implication,

engaged in wrong-doing in connection with the 2020 presidential election,” by making at least
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the following four of statements in three talk show videos that were live streamed to social media

on November 12, 14, and 19, 2024:

    1. “The tapes show them quadruple counting the ballots.” Pls.’ Mot. for Contempt, Ex. 1 at
       1:16:24-1:19:12, ECF No. 19-2.

    2. “And then then another one is uh they’re passing these little uh little hard drives that we
       maintain were used to fix the machines right and they say it was candy. Well you look at
       it looks like a hard drive to me and they told me it was a hard drive and there’s no proof
       that it was candy.” Id.

    3. “These women where you can see if you want in living color her quadruple counting
       votes and the people uh thrown out of the Arena like I said.” Id., Ex. 2 at 1:00:50-
       1:01:32, ECF No. 19-3.

    4. “You know the tapes in at the Arena . . . at the State Arena in Atlanta . . . uh they threw
       out all the people that were observing the vote count, uh closed the doors. All of a
       sudden um these two ladies and several others shoo everybody out. Everybody's gone.
       Close down the Arena. . . . They make one more casing of the joint, now this is not on
       the tape anymore, used to be, casing of the joint and then all of a sudden they have a
       covered over table that uh hadn't been used all day to take any ballots out and when
       nobody was around they pull up, pull up the and they take five bins out and turn them
       over to the people counting and you can see them quadruple counting. . .” Pls.’ Notice
       of Add’l Info., Ex. 1, ECF No. 40-2.

       Defendant also violated the part (b), which enjoins defendant from making “any of the

Actionable Statements [defined to mean the statements enumerated in Appendix A] adjudged

false and defamatory in Freeman I [referring to Freeman v. Giuliani, No. 21-cv-3354 (BAH)], or

any other statements conveying the same defamatory meaning,” Consent Judgment at 5, by

making the same four statements. The first statement conveys the same meaning as statements 4,

6, 9, 10, 17, 28, 29, 30, and 31 from Appendix A; the second statement conveys the same

meaning as statements 2, 14, 15, and 17 from Appendix A; the third statement conveys the same

meaning as statements 4, 6, 9, 10, 17, 28, 29, 30, 31 from Appendix A with respect to “quadruple

counting votes,” and statements 3, 4, 6, 7, 9, 10, 12, 14, 15, 16, 19, 23 from Appendix A with


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respect to “people thrown out of the Arena”; and the fourth statement conveys the same meaning

as statements 3, 4, 6, 7, 9, 10, 12, 14, 15, 16, 19, 23 from Appendix A with respect to “shoo[ing]

everybody out [of the Arena],” and statements 4, 6, 9, 10, 17, 28, 29, 30, 31 from Appendix A

with respect to “quadruple counting.”

       Therefore, upon consideration of plaintiffs’ motion, ECF No. 19, defendant’s opposition,

ECF No. 34, plaintiffs’ reply, ECF No. 35, plaintiffs’ notice of additional information, ECF No.

40, the exhibits attached thereto, the arguments made and testimony given by defendant at the

hearing on January 10, 2025, and the underlying record in this case and in Freeman I, for the

reasons explained orally at the hearing, it is hereby:

       ORDERED that plaintiffs’ motion to hold defendant in civil contempt, ECF No. 19, is

GRANTED; it is further

       ORDERED that defendant is held in civil contempt for repeatedly failing to comply with

the Consent Judgment in this case; it is further

       ORDERED that, to purge this contempt, defendant shall, by January 20, 2025, publicly

file on the docket in this case a declaration, sworn under penalty of perjury, affirming the

following:

   1. Defendant has reviewed, in full, all of the sworn testimony by plaintiffs and plaintiffs’

       witnesses at the Freeman I trial, contained in the trial transcripts on the Freeman I

       docket, at ECF Nos. 145, 146, 152, 154, 155, and in the deposition designations filed by

       plaintiffs in this case, at ECF Nos. 35-1, 35-2, 35-3, and 36 (collectively, Freeman I

       Sworn Testimony”).

   2. Defendant affirms that he and his counsel had an opportunity to attend the depositions

       included in the Freeman I Sworn Testimony, cross-examine those witnesses, and object

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       to the deposition designations but declined to do so, see Pls.’ Response to Court’s

       January 3, 2025 Minute Order, ECF No. 36 at 4-5; id., Exs. 4-10, ECF No. 36-5, 36-6,

       36-7, 36-8, 36-9, 36-10, 36-11. Defendant also had an opportunity to attend the Freeman

       I trial and cross-examine the plaintiffs, whose testimony is included in the Freeman I

       Sworn Testimony.

   3. Defendant has further reviewed, in full, the March 7, 2023 Georgia Secretary of State’s

       Investigation Division’s Report of Investigation (“Georgia Report of Investigation”) into

       allegations of election fraud in the 2020 presidential election, PTX 426 (admitted at trial,

       see ECF No. 145 at 64:24 (Trial Tr., Dec. 11, 2023)), which concludes: “All allegations

       made against Freeman and Moss were unsubstantiated and found to have no merit.”

   4. Defendant understands and acknowledges that the Freeman I Sworn Testimony and

       Georgia Report of Investigation conclusion, referenced in paragraphs 1 and 3 above,

       directly contradict the veracity of the unsworn statements that defendant has made about

       plaintiffs that triggered the contempt proceeding.

   5. Defendant understands and acknowledges that no factual matter set out in the Freeman I

       Sworn Testimony or the conclusion reached in the Georgia Report of Investigation,

       referenced in paragraphs 1 and 3 above, has been contradicted or otherwise undermined

       in any way by any other sworn testimony or formal report issued by any government

       body; it is further

       ORDERED that defendant shall be assessed a $200 fine for each day that defendant does

not comply with this condition after January 20, 2025, which fine shall be paid directly to

plaintiffs’ law firm as partial reimbursement of the attorneys’ fees and costs associated with the



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contempt proceeding and to defray the costs of plaintiffs’ ongoing monitoring of defendant’s

compliance with the Consent Judgment; it is further

          ORDERED that if the $200 per day fine has accumulated for over 30 days without

payment, the Court may, upon plaintiffs’ motion, reconsider the more severe sanction

recommended by plaintiffs; it is further

          ORDERED that plaintiffs within 10 days shall submit to the Court their attorneys’ fees

and costs associated with the contempt proceeding; it is further

          ORDERED that defendant will reimburse plaintiffs in full for those costs within 45 days

of plaintiffs’ filing, or else upon a schedule agreed upon with plaintiffs after conferral; and it is

further

          ORDERED that defendant remains subject to the Consent Judgment, and the Court

continues to retain jurisdiction to enforce further violations as necessary.

          SO ORDERED.

          Date: January 10, 2025

          This is a final and appealable order.



                                                       __________________________
                                                       BERYL A. HOWELL
                                                       United States District Judge




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